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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS

JAKOTA CABLE CONSTRUCTION LLC                      §
                                                   §
                                                   §
                                                   § Case Number: ________________________
VS.                                                §
                                                   §
SCOTTSDALE INSURANCE CO. and                       §
TOWER NATIONAL INSURANCE CO.                       §

                             PLAINTIFF’S ORIGINAL COMPLAINT

TO THE UNITED STATES DISTRICT JUDGE:

         Jakota Cable Construction, LLC (“Jakota”) files its original complaint as follows:

                                    NATURE OF THE ACTION

         1.       This action involves an insurance coverage dispute and seeks a declaratory

judgment pursuant to 28 U.S.C. §2201 and damages for breach of the insurance contract.

                                              PARTIES

         2.       Jakota is a Texas limited liability company with its principal place of business in

Houston, Texas.

         3.       Scottsdale Insurance Company (“Scottsdale”) is an authorized surplus lines

carrier doing business in the State of Texas, and is incorporated in Ohio with its principal place

of business in Scottsdale, Arizona.          Scottsdale may be served by serving the Texas

Commissioner of Insurance as its agent by certified mail return receipt requested at P.O. Box

149104, Austin, Texas 78714-9104. The Commissioner may then forward process to R. Lindsey

McCutchan, 8877 N. Gainey Center Drive, Scottsdale Arizona 85258.

         4.       Tower National Insurance Company (“Tower”) is an authorized and admitted

carrier doing business in the State of Texas, and is incorporated in Massachusetts with its



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principal place of business in New York. Tower may be served with citation by serving its

registered agent for service of process, Corporation Service Company, 211 E. 7th Street, Suite

620, Austin, Texas 78701-3218.

                                  JURISDICTION AND VENUE

         5.       Plaintiff has complete diversity of citizenship with Defendants and the amount in

controversy exceeds the sum of $75,000 exclusive of interest and costs. Thus, subject matter

jurisdiction is proper pursuant to 28 U.S.C. §1332. Underlying this matter is a lawsuit filed in

Harris County, Texas involving an incident in Harris County, Texas, which is located within the

territorial jurisdiction of the U.S. District Court for the Southern District of Texas. Thus, venue is

proper pursuant to 28 U.S.C. §1391(b)(2).

         6.       This court has personal jurisdiction over Scottsdale and Tower because they do

business in Texas. Scottsdale has purposefully availed itself of the Texas forum by obtaining

authorization as an eligible surplus lines carrier through the Texas Department of Insurance.

Tower has purposefully availed itself of the Texas forum by obtaining authorization as an

admitted carrier through the Texas Department of Insurance. Moreover, Scottsdale and Tower

have entered into contracts with a Texas resident, Jakota, which are performable in whole or in

part in Texas. This cause of action arises out of Scottsdale’s and Tower’s business and contracts

in Texas. Additionally, or in the alternative, Scottsdale and Tower have regular and systematic

contacts with Texas such that traditional notions of fair play and substantial justice are satisfied

by this court’s exercise of personal jurisdiction.

                                               FACTS

         7.       Scottsdale issued CGL policy No. CPS1548577 for the policy period of May 31,

2012 to May 31, 2013 to the primary named insured, Jakota (the “CGL Policy”). See Ex. “A.”




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Tower issued commercial auto policy no. BAPDK0025212 for the policy period of May 24,

2012 to May 24, 2013 to the primary named insured, Jakota (the “Auto Policy”). See Ex. “B.”

         8.       Jakota has been sued in the lawsuit styled Jose D. Rivera v. Jakota Cable

Construction, LLC; Cause No. 2013-52311 in the District Court of Harris County, Texas 11th

Judicial District (the “Underlying Lawsuit”). In the Underlying Lawsuit, Plaintiff Rivera alleges

that he was “severely injured while installing cable wire” when “his upper arm made contact

with low hanging 17,000 volt CenterPoint power line.” See Ex. “C,” the Second Amended

Petition in the Underlying Lawsuit.       Mr. Rivera alleges that “the accident occurred while

Plaintiff was using a bucket truck owned by Jakota at or near the intersection of the 3100 block

of McCulloch and the 5500 block of Hidalgo in Houston, Harris County, Texas.” Mr. Rivera

brings a negligence cause of action against Jakota. He seeks is in excess of $1,000,000.

         9.       The Underlying Lawsuit was tendered to Scottsdale for defense and coverage.

Scottsdale initially defended its insured, Jakota, pursuant to a reservation of rights.

Subsequently, on September 29, 2014, Scottsdale abruptly changed course, and issued an intent

to withdraw its defense and deny coverage effective November 1, 2014.              Subsequently,

Scottsdale did in fact withdraw its defense and denied coverage on November 1, 2014.

         10.      The Underlying lawsuit also was tendered to Tower. By letter dated November

25, 2014, Tower denied defense and coverage for the Underlying Lawsuit.

                           CAUSE OF ACTION—BREACH OF CONTRACT

         11.      Scottsdale and Jakota entered into a valid and binding contract (i.e., the CGL

Policy). Jakota fulfilled its obligations under the CGL Policy. Scottsdale, however, breached the

contract by withdrawing the defense of its insured, Jakota, and refusing to provide a defense




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from that point forward. As a result of Scottsdale’s breach of contract, Jakota has suffered

damages within the minimum jurisdiction of this court for which it now sues.

         12.      Scottsdale’s denial relies on Exclusion G (the “Auto Exclusion) as the basis for

Scottsdale’s withdrawal of the defense and denial of coverage for Jakota. The Auto Exclusion

excludes, in relevant part, coverage for the bodily injury “arising out of the ownership,

maintenance, use or entrustment to others of any aircraft, ‘auto’ or watercraft owned or operated

by or rented or loaned to any insured.” Scottsdale is correct that the bucket truck is an “auto” as

defined under the Scottsdale policy. However, Scottsdale is incorrect in asserting that the Auto

Exclusion excludes coverage because the claims in the Underlying Lawsuit fall within an

exception to that exclusion.

         13.      The Auto Exclusion provides, in relevant part, as follows:

                           This exclusion does not apply to:
                                                    ***
                           (5)    “Bodily injury” or “property damage”
                                  arising out of:
                                                    ***
                                  (b)     the operation of any of the
                                          machinery or equipment listed in
                                          Paragraph f. (2) or f. (3) of the
                                          definition of “mobile equipment”.

Thus, the Auto Exclusion does not apply to the operation of any machinery listed in paragraph f.

(2) or f. (3) of the definition of mobile equipment. Paragraph f (2) of the definition of “mobile

equipment” states as follows:

                           (2)    Cherry pickers and similar devices mounted
                                  on automobile or truck chassis and used to
                                  raise or lower workers;

         14.      The allegations in the Underlying Lawsuit are that the injury arose while Plaintiff

was using the bucket truck to install cable when he hit a high voltage power line on a utility pole.




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These are allegations that the injury arose out of the operation of the cherry picker, as Plaintiff

was in the bucket working to install cables at the time of the accident and injury. Thus, although

the bucket truck is an auto, the operation of the “devices mounted on . . . the truck chassis and

used to raise or lower workers” is excepted from the Auto Exclusion.

         15.      The allegations in the Underlying Lawsuit fall within the exception to the Auto

Exclusion such that Scottsdale owes defense to Jakota for the Lawsuit. At the very minimum, the

allegations are unclear as to whether the exception is applicable and, thus, unclear as to whether

Scottsdale ultimately would owe coverage for the Lawsuit. Thus, the Underlying Lawsuit states a

potentially covered claim such that Scottsdale owes a duty to defend.

         16.      Scottsdale asserts that the coverage should fall within the Auto Policy. Jakota

believes that the claim falls within the Scottsdale policy. However, pleading strictly in the

alternative and in the unlikely event that it was to be determined that Scottsdale is correct and

that the Auto Policy should provide defense and coverage for the Underlying Lawsuit, then

Tower has breached its contract with Jakota.

         17.      Tower and Jakota entered into valid and binding contract (i.e., the Auto Policy).

Jakota fulfilled its obligations under the policy. Pleading in the alternative, Tower breached its

contract by denying defense and coverage of the Underlying Lawsuit, causing Jakota to suffer

damages within the minimum jurisdiction of this court for which it now sues.

                           CAUSE OF ACTION-DECLARATORY RELIEF

         18.      Pursuant to 28 U.S.C. §2201, there is an actual controversy between the parties

and Plaintiff seeks a declaration as to the rights and other legal relations of the interested parties.

More particularly, the actual controversy involves the current and ongoing obligation to defend

Jakota. Jakota seeks a declaration that Scottsdale owes a duty to defend to Jakota for the claims




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asserted in the Underlying Lawsuit or, in the alternative that, Tower owes a duty to defend Jakota

for the claims asserted in the Underlying Lawsuit. For the same reasons that Scottsdale or Tower

owes a duty to defend, one or the other will also owe a duty to provide coverage but such a

determination is premature at this time.

                                            DAMAGES

         19.      As a result of the breach of contract, Jakota has suffered and will continue to

suffer damages in the form of legal costs for defending itself in the Underlying Lawsuit.

                                       ATTORNEY’S FEES

         20.      As a result of the breach of contract, Jakota hired Munsch Hardt Kopf & Harr, PC

to prosecute this lawsuit. Pursuant to Tex. Civ. Prac. & Rem. Code Chapter 38, Jakota seeks

recovery of the reasonable and necessary attorney’s fees incurred in this action.

                                             PRAYER
         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to

appear herein. Plaintiff further prays that, upon final trial, Plaintiff recover all amounts for the

damages sustained, court costs, pre- and post-judgment interest, attorneys’ fees and all such

further relief to which Plaintiff may be justly entitled. Plaintiff also seeks a declaration that

Scottsdale owes a duty to defend Jakota for the claims asserted in the Underlying Lawsuit or, in

the alternative that Tower, owes a duty to defend Jakota for the claims asserted in the Underlying

Lawsuit.

                                                      Respectfully submitted,

                                                  By:/s/ James M. Bettis, Jr.
                                                     James M. Bettis, Jr.
                                                     jbettis@munsch.com
                                                     State Bar No. 02268650
                                                     ATTORNEY IN CHARGE FOR JAKOTA
                                                     CABLE CONSTRUCTION, LLC



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